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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DOE 1, DOE 2, and DOE, on behalf of
 themselves and all other similarly situated,

                        Plaintiffs,

        v.
                                                               Case No. 1:25-cv-01124
 EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION, et al.


                        Defendants.




                                      NOTICE OF ERRATA

       Plaintiffs submit this notice and attachment to rectify the title of the Proposed Order

submitted with Plaintiffs’ Motion for Class Certification, ECF No. 25-8. The original Proposed

Order filed with the Motion on June 5, 2025, ECF No. 25, was inadvertently improperly titled as

a “Proposed Order Granting Summary Judgment.” Plaintiffs offer a corrected copy.




Dated: June 6, 2025                             Respectfully submitted,


                                                 /s/ Jennifer Fountain Connolly

                                                Jennifer Fountain Connolly (DC Bar No.
                                                1019148)
                                                Sarah Goetz (DC Bar No. 1645309)
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